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                                                                                            CLERK, U.S. DISTRICT COURT



                                                                                                    12/10/2015
                              UNITED STATES JUDICIAL PANEL
                                                                                          CENTRAL DISTRICT OF CALIFORNIA
                                           on                                                    AP
                                                                                            BY: ___________________ DEPUTY

                                MULTIDISTRICT LITIGATION


 IN RE: NATIONAL FOOTBALL LEAGUE’S
 “SUNDAY TICKET” ANTITRUST LITIGATION                                                     MDL No. 2668

                                 MASTER                                             2:15-ML-02668-BRO(JEMx)
                                      TRANSFER ORDER


         Before the Panel:* Plaintiff in one action in the Central District of California moves under
 28 U.S.C. § 1407 to centralize this litigation in that district. This litigation currently consists of six
 actions pending in two districts, as listed on Schedule A.1 Since the filing of the motion, the Panel
 has been notified of fifteen related actions.2 This litigation concerns allegedly anticompetitive
 agreements between the NFL and DIRECTV providing for DIRECTV’s exclusive live broadcast of
 certain NFL Sunday afternoon football games through a subscription sports package known as the
 “NFL Sunday Ticket,” and the alleged impacts on residential and commercial subscribers.

         All responding plaintiffs and defendants3 support or do not oppose centralization, but they
 disagree on the transferee district. Plaintiffs in four actions on the motion and one potential tag-
 along support centralization in the Central District of California. This district also has the support
 of all defendants. Plaintiffs in the Southern District of New York action on the motion and one
 potential tag-along support centralization in that district.

        On the basis of the papers filed and the hearing session held, we find that these actions
 involve common questions of fact, and that centralization will serve the convenience of the parties
 and witnesses and promote the just and efficient conduct of this litigation. These actions share
 complex factual questions arising out of allegations that the NFL and DIRECTV have entered into
 anticompetitive agreements granting DIRECTV the exclusive right to broadcast certain NFL Sunday


         *
            Judge Marjorie O. Rendell, Judge Lewis A. Kaplan, and Judge Ellen Segal Huvelle took
 no part in the decision of this matter.
         1
          There were eight actions listed on plaintiff’s motion for centralization, but two actions
 were voluntarily dismissed during the pendency of the motion.
         2
           The related actions are pending in the Central District of California, the Northern District
 of California, and the Southern District of New York. These and any other related actions are
 potential tag-along actions. See Panel Rules 1.1(h), 7.1 and 7.2.
         3
          National Football League, Inc., and NFL Enterprises LLC (together, NFL); DIRECTV,
 LLC; DIRECTV Holdings LLC; and DIRECTV Sports Networks LLC (together, DIRECTV); CBS
 Corporation; Fox Broadcasting Company; NBC Universal Media, LLC; and ESPN, Inc.
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                                                  -2-

 afternoon football games outside of a viewer’s local television market, in violation of federal and
 state antitrust law.4 Common questions of fact will include whether defendants entered into the
 alleged agreements and the terms thereof; the effect of the alleged agreements on the relevant
 market; whether defendants have pro-competitive justifications for the alleged conduct; and the
 scope of relief. Additionally, all actions are on behalf of overlapping putative nationwide classes
 of subscribers to DIRECTV’s NFL Sunday Ticket service. Centralization will eliminate duplicative
 discovery; prevent inconsistent pretrial rulings, including with respect to class certification; and
 conserve the resources of the parties, their counsel and the judiciary.

          We conclude that the Central District of California is an appropriate transferee district for
 this litigation. Fifteen actions, including potential tag-along actions, are pending in this district
 before Judge Beverly Reid O’Connell. DIRECTV has its headquarters in this district, and thus
 common evidence likely will be located there. This district also has the support of all defendants
 and the majority of the responding plaintiffs. Judge O’Connell is an experienced jurist, and we are
 confident that she will steer this litigation on a prudent course.

        IT IS THEREFORE ORDERED that the action listed on Schedule A and pending outside
 the Central District of California is transferred to the Central District of California and, with the
 consent of that court, assigned to the Honorable Beverly Reid O’Connell for coordinated or
 consolidated pretrial proceedings.


                                            PANEL ON MULTIDISTRICT LITIGATION




                                                             Sarah S. Vance
                                                                 Chair

                                        Charles R. Breyer              R. David Proctor
                                        Catherine D. Perry




        4
          The actions allege that the exclusive arrangement began in 1994, and was renewed in
 October 2014 for an additional eight-year period.
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 IN RE: NATIONAL FOOTBALL LEAGUE’S
 “SUNDAY TICKET” ANTITRUST LITIGATION                                    MDL No. 2668


                                        SCHEDULE A


              Central District of California

       ABRAHAMIAN v. NATIONAL FOOTBALL LEAGUE, INC., ET AL.,
             C.A. No. 2:15-04606
       NINTH INNING, INC. v. NATIONAL FOOTBALL LEAGUE, INC., ET AL.,
             C.A. No. 2:15-05261
       ROOKIES SPORTS CAFE, L.L.C., ET AL. v. NATIONAL FOOTBALL LEAGUE,
             INC., ET AL., C.A. No. 2:15-05813
       1465 3RD AVE. REST. CORP. v. NATIONAL FOOTBALL LEAGUE, INC.,
             ET AL., C.A. No. 2:15-06145
       MAIN STREET AMERICA LTD. v. NATIONAL FOOTBALL LEAGUE, INC.,
             ET AL., C.A. No. 2:15-06402

              Southern District of New York

       8812 TAVERN CORP. D/B/A BENCH SPORTS BAR, ET AL. v. NATIONAL
             FOOTBALL LEAGUE, INC., ET AL., C.A. No. 1:15-06771
